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Attorney for Defendant Andrew Zacharious Akulaw

                     IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF ALASKA

UNITED STATES OF AMERICA,              )
                                       )
           Plaintiff,                  )
                                       ) Case No. 3:24-CR-00049-SLG-MMS
vs.                                    )
                                       ) MOTION FOR EXPEDITED
ANDREW ZACHARIOUS AKULAW,               ) CONSIDERATION OF MOTION
                                       ) TO APPROVE DEFENDANT’S
           Defendant.                  ) TELEPHONIC APPEARANCE
_______________________________________)

             COMES NOW Defendant, Andre Zacharious Akulaw, by and through CJA

counsel, James Wendt moves this court for expedited consideration of Defendant’s Motion to

Approve Defendant’s Telephonic Appearance at the July 11 Discovery Conference at docket

85.

             Expedited Consideration is necessary because is in two days. AUSA Tripak

does not oppose this request.

             DATED at Anchorage, Alaska this 9 day of July, 2024.

                           LAW OFFICES OF JAMES ALAN WENDT

                           __/s/ James Wendt_____________________

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I hereby certify that on July 9, 2024 a copy of foregoing
Motion for Expedited Consideration was served electronically
on:

All counsel of record

LAW OFFICES OF JAMES ALAN WENDT


__/s/ James Wendt_____________________




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